Case 8:14-cv-02096-VMC-EAJ Document 225 Filed 12/10/15 Page 1 of 9 PageID 10334




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

    ROCA LABS, INC.,

                 Plaintiff,

    v.                                 Case No. 8:14-cv-2096-T-33EAJ


    CONSUMER OPINION CORP. and
    OPINION CORP.,

              Defendants.
    _____________________________/

                                    ORDER

          This   matter   comes   before    the   Court   upon   Defendants

    Consumer Opinion Corp. and Opinion Corp.’s Motion for Fees

    and Sanctions, filed on November 5, 2015. (Doc. # 222).

    Plaintiff Roca Labs, Inc. filed a response on November 18,

    2015. (Doc. # 223). For the reasons that follow, the Court

    denies the Motion.

    I.    Background

          This action was brought by Roca and the Amended Complaint

    contained 11 counts, which are listed below.

          Count I: violation of FDUTPA against Consumer
          Opinion;
          Count II: violation of FDUTPA against Opinion
          Corp.;
          Count III: tortious interference with a contractual
          relationship against Consumer Opinion;
          Count IV: tortious interference with a contractual
          relationship against Opinion Corp.;


                                      1 
     
Case 8:14-cv-02096-VMC-EAJ Document 225 Filed 12/10/15 Page 2 of 9 PageID 10335




                  Count V: tortious interference with prospective
                  economic relationship against Consumer Opinion;
                  Count VI: tortious interference with prospective
                  economic relationship against Opinion Corp.;
                  Count   VII:   defamation    for   statements   on
                  pissedconsumer.com against Consumer Opinion;
                  Count   VIII:   defamation   for   statements   on
                  pissedconsumer.com against Opinion Corp.;
                  Count IX: defamation for statements on Twitter
                  against Consumer Opinion;
                  Count X: defamation for statements on Twitter
                  against Opinion Corp.; and
                  Count XII:1 declaratory relief against Consumer
                  Opinion and Opinion Corp.

    (Doc. # 114). Discovery occurred, which required the Court’s

    intervention on several occasions. See, e.g., (Doc. ## 130,

    141, 144, 162, 163, 169, 176, 182, 184, 219). Each party filed

    its own motion for summary judgment. (Doc. ## 148, 172, 173).

    The Court granted Consumer Opinion’s and Opinion Corp.’s

    respective motions for summary judgment on the ground that

    Consumer Opinion and Opinion Corp. were entitled to immunity

    under Section 230 of the Communications Decency Act, 47 U.S.C.

    § 230(c). (Doc. # 220).

    II.           Discussion

                  Consumer Opinion and Opinion Corp. now seek an award of

    attorneys’ fees and costs “as sanctions against [Roca] and

    Roca’s                 counsel                    for          filing    and      maintaining      a    frivolous

    lawsuit,                    void             of          any     legal        basis,   and   for   an   improper

                                                                
    1   The Amended Complaint skips from Count X to Count XII.


                                                                             2 
     
Case 8:14-cv-02096-VMC-EAJ Document 225 Filed 12/10/15 Page 3 of 9 PageID 10336




    purpose,” pursuant to Federal Rule of Civil Procedure 11, 28

    U.S.C. § 1927, Section 57.105, Florida Statues, and the

    Court’s inherent powers. (Doc. # 222 at 1). Consumer Opinion

    and Opinion Corp. also seek an award of fees pursuant to the

    Florida Deceptive and Unfair Trade Practices Act (FDUTPA),

    Section 501.2105, Florida Statutes. (Id.).

          Roca filed a response which states, “Roca does not wish

    to respond to the Motion and is not filing a response.

    However, Roca has granted permission to the undersigned legal

    counsel to respond to the sanctions portion of Defendants’

    Motion     and    the    response     reflects    the    position   of   the

    undersigned counsel and not that of Roca.” (Doc. # 223 at 1).

          Thereafter, Consumer Opinion and Opinion Corp. filed a

    notice withdrawing their requests under Rule 11 and Section

    57.105. (Doc. # 224 at 1-2). But, Consumer Opinion and Opinion

    Corp. “are not withdrawing any other arguments in the motion

    for fees at this time, namely 28 U.S.C. § 1927, FDUTPA (which

    provides for fee shifting), and the Court’s inherent power.”

    (Id. at 2).

          A.     Section 1927 and Inherent Power of the Court

          Section 1927 provides, “[a]ny attorney . . . who so

    multiplies       the    proceedings    in   any   case   unreasonably    and

    vexatiously may be required by the court to satisfy personally


                                           3 
     
Case 8:14-cv-02096-VMC-EAJ Document 225 Filed 12/10/15 Page 4 of 9 PageID 10337




    the excess costs, expenses, and attorneys’ fees reasonably

    incurred because of such conduct.” 28 U.S.C. § 1927. This

    statute “allows district courts to ‘assess attorney’s fees

    against litigants, counsel, and law firms who willfully abuse

    the judicial process by conduct tantamount to bad faith.’”

    Malautea v. Suzuki Motor Co., Ltd., 987 F.2d 1536, 1544 (11th

    Cir. 1993) (quoting Avirgan v. Hull, 932 F.2d 1572, 1582 (11th

    Cir. 1991)).

          “‘Bad faith’ is the touchstone.” Schwartz v. Millon Air,

    Inc., 341 F.3d 1220, 1225 (11th Cir. 2003). A “determination

    of bad faith is warranted where an attorney knowingly or

    recklessly pursues a frivolous claim or engaged in litigation

    tactics   that   needlessly    obstruct   the   litigation   of   non-

    frivolous claims.” Id. The bad faith analysis is objective.

    Amlong & Amlong, P.A. v. Denny’s, Inc., 500 F.3d 1230, 1239-

    40 (11th Cir. 2006). In the end, “[f]or sanctions under

    [S]ection 1927 to be appropriate, something more than lack of

    merit is required.” Schwartz, 341 F.3d at 1225.

          Likewise, this Court may sanction an attorney under its

    inherent powers. See Thomas v. Tenneco Packaging Co., Inc.,

    293 F.3d 1306, 1320 (11th Cir. 2002). “Due to the scope of

    the inherent powers vested in federal courts, however, it is

    necessary that such courts ‘exercise caution in invoking


                                      4 
     
Case 8:14-cv-02096-VMC-EAJ Document 225 Filed 12/10/15 Page 5 of 9 PageID 10338




    [their] inherent power.’” Id. (quoting Chambers v. NASCO,

    Inc., 501 U.S. 32, 50 (1991)). Thus, as with the imposition

    of sanctions under Section 1927, a court “must find that the

    lawyer’s    conduct   ‘constituted       or    was   tantamount   to   bad

    faith.’” Id. (quoting Durrett v. Jenkins Brickyard, Inc., 678

    F.2d 911, 918 (11th Cir. 1982)).

          “A finding of bad faith is warranted where an attorney

    knowingly    or   recklessly   raises      a   frivolous   argument,    or

    argues a meritorious claim for the purpose of harassing an

    opponent. A party also demonstrates bad faith by delaying or

    disrupting the litigation or hampering enforcement of a court

    order.” Id. (quoting Barnes v. Dalton, 158 F.3d 1212, 1214

    (11th Cir. 1998)). This inquiry focuses on conduct rather

    than the validity of the case. Kreager v. Solomon & Flanagan,

    P.A., 775 F.2d 1541, 1543 (11th Cir. 1985) (quoting Rothenberg

    v. Sec. Mgmt. Co., Inc., 736 F.2d 1470, 1472 (11th Cir. 1984))

    (internal quotation marks omitted).

          Upon review of the record, the Court determines that the

    requisite showing of bad faith has not been made. Consumer

    Opinion     and   Opinion   Corp.        argue   Roca’s    claims      were

    objectively meritless and, therefore, the Court should impose

    sanctions. (Doc. # 222 at 12-18). However, the Court granted

    summary judgment on the ground that Consumer Opinion and


                                        5 
     
Case 8:14-cv-02096-VMC-EAJ Document 225 Filed 12/10/15 Page 6 of 9 PageID 10339




    Opinion Corp. were entitled to immunity under Section 230 of

    the Communications Decency Act. (Doc. # 220). The Court did

    not reach the merits of the underlying claims. (Id.). In

    addition,    bad   faith,    which        is    the     touchstone     for     the

    imposition of sanctions under Section 1927 and the Court’s

    inherent    powers,   requires   “something             more    than    lack   of

    merit.” Schwartz, 341 F.3d at 1225.

          Likewise, the Court cannot say Roca’s maintenance of

    this action in the face of Consumer Opinion and Opinion

    Corp.’s Section 230 defense constituted bad faith. Although

    the Court ultimately found that Section 230 immunity applied

    in this case, that conclusion does not justify a post hoc

    rationalization       that   Roca’s            action     must    have       been

    unreasonable or without foundation. See Christianburg Garment

    Co. v. EEOC, 434 U.S. 412-421-22 (1978). This case was

    extensively briefed by all parties (Doc. ## 148, 172, 173,

    186, 187, 189, 192, 193, 194), and required careful analysis

    and review by the Court in ruling on the three motions for

    summary judgment.

          Consumer Opinion and Opinion Corp. seek sanctions for

    behavior    that   was   previously        addressed       by    this    Court.

    Although the behavior of both sides was less than collegial,

    the Court dealt with such conduct in an appropriately measured


                                         6 
     
Case 8:14-cv-02096-VMC-EAJ Document 225 Filed 12/10/15 Page 7 of 9 PageID 10340




    manner each time. (Doc. ## 162 at 3, 163 at 3, 184 at 5 n.2,

    220 at 10 n.3). In addition, the Court determines that the

    requisite showing of bad faith has not been made. In sum, the

    Court will not impose sanctions under Section 1927 or its

    inherent power.

          B.    Fees under FDUTPA

          Consumer      Opinion   and        Opinion    Corp.     also     argue

    entitlement    to    attorneys’     fees    and    costs    under    FDUTPA.

    Section 501.2105(1) provides that a prevailing party “may

    receive [its] reasonable attorney’s fees and costs from the

    nonprevailing party” after exhaustion of appeals, if any.

          It is within the discretion of the Court to award fees

    and costs under FDUTPA. PODS Enter., LLC v. U-Haul Intern.,

    Inc., No. 8:12-cv-1479-T-27MAP, 2015 WL 5021726, at *22 (M.D.

    Fla. Aug. 24, 2015). A trial court’s considerations might

    include, but are not limited to:

          (1) the scope and history of the litigation;
          (2) the ability of the opposing party to satisfy an
          award of fees;
          (3) whether an award of fees against the opposing
          party would deter others from acting in similar
          circumstances;
          (4) the merits of the respective positions-
          including the degree of the opposing party's
          culpability or bad faith;
          (5) whether the claim brought was not in subjective
          bad faith but frivolous, unreasonable, groundless;
          (6) whether the defense raised a defense mainly to
          frustrate or stall;


                                        7 
     
Case 8:14-cv-02096-VMC-EAJ Document 225 Filed 12/10/15 Page 8 of 9 PageID 10341




          (7) whether the claim brought was to resolve a
          significant legal question under FDUTPA law.

    Chow v. Chak Yam Chau, No. 14-14654, 2015 WL 7258668, at *4

    (11th Cir. Nov. 17, 2015) (quoting Humane Soc’y of Broward

    Cty., Inc. v. Fla. Humane Soc’y, 951 So. 2d 966, 971-72 (Fla.

    4th DCA 2007)).

          After   weighing      the   factors    listed   above,   the    Court

    exercises its discretion and denies an award of attorneys’

    fees and costs under FDUTPA. The scope and history of the

    litigation weighs against awarding fees and costs, or at most

    is a neutral factor. As to the second factor, the Court finds

    Consumer   Opinion    and    Opinion      Corp.’s   citation   to    Roca’s

    alleged losses as inferential evidence suggestive of its

    ability to pay (Doc. # 222 at 18), unpersuasive. Factors four

    and five are also neutral. In addition, the seventh factor

    weighs against awarding fees and costs. Although the third

    and sixth factors weigh slightly in favor of awarding fees

    and costs under FDUTPA, the Court nevertheless finds that

    those two factors do not tip the scales enough to warrant an

    award of fees and costs under FDUTPA in this case.

          Accordingly, it is

          ORDERED, ADJUDGED, and DECREED:




                                         8 
     
Case 8:14-cv-02096-VMC-EAJ Document 225 Filed 12/10/15 Page 9 of 9 PageID 10342




          Consumer Opinion Corp. and Opinion Corp.’s Motion for

    Fees and Sanctions (Doc. # 222) is DENIED.

          DONE and ORDERED in Chambers in Tampa, Florida, this

    10th day of December, 2015.




                                      9 
     
